       Case 3:12-cr-00341-DRD             Document 336          Filed 03/25/13        Page 1 of 6



                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,
                                                                  CRIMINAL NO. 12-341 (DRD)
        v.
MYRIAM MORALES [9],
        Defendant.


               MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                    RE: RULE 11(c)(1)(B) GUILTY PLEA HEARING

I.      Procedural Background
        On April 26, 2012, defendant Myriam Morales was charged in a multi-count indictment. She
agrees to plead guilty to Count Thirty-seven.
        Count Thirty-seven charges that on or about April 29, 2011, Ms. Morales, and others, aiding
and abetting each other, did knowingly conduct and attempt to conduct a financial transaction
affecting interstate and/or foreign commerce, that involved the proceeds of a specified unlawful
activity, with intent to promote the carrying on of the specified unlawful activity, and knowing that
the proceeds involved represented proceeds of some form of specified unlawful activity, all in
violation of Title 18, United States Code, Section 1956(a)(1) and 2.
        Defendant appeared before me, assisted by the court interpreter, on March 19, 2013, since the
Rule 11 hearing was referred by the court. See United States v. Woodard, 387 F.3d 1329 (11th Cir.
2004) (magistrate judge had authority to conduct Rule 11 guilty plea hearing with consent of
defendant). She was advised of the purpose of the hearing and placed under oath with instructions that
her answers must be truthful lest she would subject herself to possible charges of perjury or making a
false statement.
II.     Consent to Proceed Before a Magistrate Judge
        Defendant was provided with a Waiver of Right to Trial by Jury form, which she signed. 1 She


        1
          The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for
Pleading Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is
made part of the record.
       Case 3:12-cr-00341-DRD             Document 336          Filed 03/25/13        Page 2 of 6



USA v. Myriam Morales [9]                                                                           Page 2
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

acknowledged the her attorney explained and translated the form before she signed it. She was advised
of her right to hold all proceedings, including the change of plea hearing, before a district court judge.
She received an explanation of the differences between the scope of jurisdiction and functions of a
district judge and a magistrate judge. She was informed that if she elects to proceed before a magistrate
judge, then the magistrate judge will conduct the hearing and prepare a report and recommendation,
subject to review and approval of the district judge. The defendant then voluntarily consented to
proceed before a magistrate judge.
III.    Proceedings Under Rule 11 of the Federal Rules of Criminal Procedure
        Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty pleas to
federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to constitute a valid waiver
of the defendant’s right to trial, the guilty plea must be knowing and voluntary. United States v.
Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999). “Rule 11 was intended to ensure that a defendant who
pleads guilty does so with an ‘understanding of the nature of the charge and consequences of his plea.’”
United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S.
459, 467 (1969)). There are three core concerns in a Rule 11 proceeding: 1) absence of coercion; 2)
understanding of the charges; and 3) knowledge of the consequences of the guilty plea. Cotal-Crespo,
47 F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244 (1st Cir. 1991)).
        A.        Competence to Enter a Guilty Plea
        This magistrate judge questioned the defendant about her age, education, employment, history
of any treatment for mental illness or addiction, use of any medication, drugs, or alcohol, and her
understanding of the purpose of the hearing, all in order to ascertain her capacity to understand, answer
and comprehend the change of plea colloquy. The court confirmed that the defendant received the
indictment and fully discussed the charge with her attorney, and was satisfied with the advice and
representation she received. The court further inquired whether defendant’s counsel or counsel for the
government had any doubt as to her capacity to plead, receiving answers from both that the defendant
was competent to enter a plea. After considering the defendant’s responses, and observing her
demeanor, a finding was made that Ms. Morales was competent to plead and fully aware of the purpose
of the hearing.
       Case 3:12-cr-00341-DRD            Document 336         Filed 03/25/13       Page 3 of 6



USA v. Myriam Morales [9]                                                                        Page 3
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

        B.      Maximum Penalties
        Upon questioning, the defendant expressed her understanding of the maximum penalties
prescribed by statute for the offense to which she was pleading guilty, namely: a term of imprisonment
of not more than twenty years, a fine of not more than $500,000, or twice the amount of the transaction
involved, whichever is greater, and a supervised release term of not more than three years. The
defendant also understood that a Special Monetary Assessment of $100.00 would be imposed, to be
deposited in the Crime Victim Fund, pursuant to Title 18, United States Code, §3013(a). The court
explained the nature of supervised release and the consequences of revocation. The defendant will also
be subject to an order of forfeiture. The defendant indicated that she understood the maximum penalties
for Count Thirty-seven.
        C.      Plea Agreement
        Ms. Morales was shown her plea agreement and the supplement thereto (together, “Plea
Agreement”), which are part of the record, and identified her initials on each page and her signature on
the document. She confirmed that she had the opportunity to read and discuss the Plea Agreement with
her attorney before she signed it, that her attorney explained and translated the Plea Agreement before
she signed it, that it represented the entirety of her understanding with the government, that she
understood its terms, and that no one had made any other or different promises or assurances to induce
her to plead guilty. The defendant was then admonished, pursuant to Fed. R. Crim. P. 11(c)(1)(B), and
expressed her understanding, that the terms of the plea agreement are merely recommendations to the
court, and that the district judge who will preside over the sentencing hearing can reject the
recommendation without permitting the defendant withdraw her guilty plea, and impose a sentence that
is more severe than the defendant might anticipate.
        The parties’ sentencing calculations and recommendations in the plea agreement, and were
explained in open court. The defendant confirmed that the plea agreement contains the sentencing
recommendations she agreed to with the government.
        The defendant was specifically informed that any sentencing calculations contained in the plea
agreement were not binding for the sentencing court, but were only estimates of possible terms of her
       Case 3:12-cr-00341-DRD              Document 336          Filed 03/25/13       Page 4 of 6



USA v. Myriam Morales [9]                                                                            Page 4
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

sentence, and that the court, after considering the applicable Sentencing Guidelines, could impose a
sentence different from any estimate in the plea agreement or provided by her attorney, and that the
court had authority to impose a sentence that is more severe or less severe than the sentence called for
by the Sentencing Guidelines. The defendant was advised, and understood, that the Sentencing
Guidelines are no longer mandatory and are thus considered advisory, and that during sentencing the
court will consider the sentencing criteria found at 18, United States Code, Section 3553(a).
        The defendant was advised that under some circumstances she or the government may have the
right to appeal the sentence the court imposes. The defendant was further informed, and professed to
understand, that the plea agreement contains a waiver of appeal provision under which the defendant
agreed to waive her right to appeal the judgement and sentence, if the court accepts the plea agreement
and sentences as recommended.
        D.      Waiver of Constitutional Rights
        The defendant was specifically advised that she has the right to persist in a plea of not guilty,
and if she does so persist that she has the right to a speedy and public trial by jury, or before a judge
sitting without a jury if the court and the government so agree; that at trial she would be presumed
innocent and the government would have to prove her guilt beyond a reasonable doubt; that she would
have the right to assistance of counsel for her defense, and if she could not afford an attorney the court
would appoint one to represent her throughout all stages of the proceedings; that at trial she would have
the right to hear and cross examine the government’s witnesses, the right to decline to testify unless she
voluntarily elected to do so, and the right to the issuance of subpoenas or compulsory process to compel
the attendance of witnesses to testify on her behalf. She was further informed that if she decided not
to testify or put on evidence at trial, her failure to do so could not be used against her, and that at trial
the jury must return a unanimous verdict before she could be found guilty.         The defendant specifically
acknowledged understanding these rights, and understanding that by entering a plea of guilty there
would be no trial and she will be waiving or giving up the rights that the court explained.
        The defendant was informed that parole has been abolished and that any sentence of
imprisonment must be served. Defendant was additionally informed that a pre-sentence report would
       Case 3:12-cr-00341-DRD             Document 336          Filed 03/25/13       Page 5 of 6



USA v. Myriam Morales [9]                                                                          Page 5
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

be prepared and considered by the district judge at sentencing, and that the defense and the government
would be allowed to correct or object to any information contained in the report which was not
accurate. The defendant confirmed that she understood these consequences of her guilty plea.
        E.      Factual Basis for the Guilty Plea
        Defendant was read in open court Count Thirty-seven of the indictment and provided an
explanation of the elements of the offense. The meaning of terms used in the indictment was explained.
        Upon questioning, the government presented to this magistrate judge and to defendant a
summary of the basis in fact for the offense charged in Count Thirty-seven and the evidence the
government had available to establish, in the event defendant elected to go to trial, the defendant’s guilt
beyond a reasonable doubt. The defendant was able to understand this explanation and agreed with
the government’s submission as to the evidence which could have been presented at trial.
        F.      Voluntariness
        The defendant indicated that she was not being induced to plead guilty, but was entering such
a plea freely and voluntarily because in fact she is guilty, and that no one had threatened her or offered
a thing of value in exchange for her plea. She acknowledged that no one had made any different or
other promises in exchange for her guilty plea, other than the recommendations set forth in the plea
agreement. Throughout the hearing the defendant was able to consult with her attorney.
IV.     Conclusion
        The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal Rules of
Criminal Procedure, and entered a plea of guilty as to Count Thirty-seven of the indictment.
        After cautioning and examining the defendant under oath and in open court concerning each
of the subject matters mentioned in Rule 11, I find that the defendant, Myriam Morales, is competent
to enter this guilty plea, is aware of the nature of the offense charged and the maximum statutory
penalties that it carries, understands that the charge is supported by evidence and a basis in fact, has
admitted to the elements of the offense, and has done so in an intelligent and voluntary manner with
full knowledge of the consequences of her guilty plea. Therefore, I recommend that the court accept
the guilty plea and that the defendant be adjudged guilty as to Count Thirty-seven of the indictment.
       Case 3:12-cr-00341-DRD             Document 336          Filed 03/25/13       Page 6 of 6

USA v. Myriam Morales [9]                                                                           Page 6
Cr. 12-341 (DRD)
REPORT AND RECOMMENDATION ON GUILTY PLEA

        This report and recommendation is filed pursuant to 28 U.S.C. §636(b)(1)(B) and Rule 72(d)
of the Local Rules of this Court. Any objections to the same must be specific and must be filed with
the Clerk of Court within fourteen (14) days of its receipt. Failure to file timely and specific objections
to the report and recommendation is a waiver of the right to review by the district court. United States
v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
        A sentencing hearing has been set for July 19, 2013 at 9:30 a.m before District Judge
Daniel Dominguez.
        IT IS SO RECOMMENDED.
        San Juan, Puerto Rico, this 19th day of March, 2013.


                                                 S/Bruce J. McGiverin
                                                 BRUCE J. McGIVERIN
                                                 United States Magistrate Judge
